Case No. 1:12-cr-00010-MSK Document 800 filed 01/10/13 USDC Colorado pg 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                           CHIEF JUDGE MARCIA S. KRIEGER

 Courtroom Deputy: LaDonne Bush                   Date: January 10, 2013
 Court Reporter: Therese Lindblom

 Criminal Action No. 12-cr-00010-MSK-4

 Parties:                                         Counsel:

 UNITED STATES OF AMERICA,                        Guy Till

 Plaintiff,

 v.

 GEORGE A. GADDY,                                 Jeffrey Edelman

                Defendant.

                            COURTROOM MINUTES
 ______________________________________________________________________________

 MOTION HEARING

 4:20 p.m.      Court in session.

 Defendant present on bond.

 Argument.

 ORDER:         Government’s Motion for a Psychiatric Evaluation and Determination of the
                Defendant’s Mental Competency to Stand Trial (Doc. 763) is granted. Within
                seven days, counsel shall submit a proposed order for preparation of a report by
                Dr. Susan Bograd.

 Court asks counsel to call and advise chambers when the proposed order has been submitted
 electronically.

 Discussion regarding obtaining Defendant’s Veterans Administration and Army records.

 A hearing date will be set after the Court is advised of how long it will take Dr. Bograd to
 prepare the report.

 ORDER:         Bond is continued on the same terms and conditions.

 4:39 p.m.      Court in recess.

 Total Time: 00:19
 Hearing concluded.
